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                                 UNITED STATES DISTRICT COURT
 8
                                WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
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10      DONALD E. MORISKY,
                                                               CASE NO. 2:21-CV-1301-RSM-DWC
11                              Plaintiff,
                v.                                             ORDER DIRECTING LIMITED LIFT
12                                                             OF STAY
        MMAS RESEARCH LLC, et al.,
13
                                Defendants.
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15          On January 11, 2024, the Court stayed this matter pending the outcome of MMAS

16   Research, LLC, et al. v. The Charité, et al., Case No. 23-55202 (9th Cir.). Dkt. 220. The parties

17   notified the Court that the Ninth Circuit case had resolved. See Dkt. 223. Therefore, on April 24,

18   2024, the Court held a status conference via Zoom to determine if the stay should be lifted.

19   Based on arguments from counsel, the Court determined Plaintiff should be allowed an

20   opportunity to move for sanctions prior to a scheduling order being entered. Accordingly, the

21   Court lifted the stay for the limited purpose of allowing Plaintiff to file a motion for sanctions.

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     ORDER DIRECTING LIMITED LIFT OF STAY - 1
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 1           Any motion for sanctions must be filed on or before May 10, 2024. 1 The Court will not

 2   accept any additional motions or filings in this case until the motion for sanctions is resolved.

 3           The Court also directs Attorney Ronald Coleman to clarify if he intends to represent all

 4   defendants or only Defendant MMAS Research LLC, as indicated on the Docket.

 5           Dated this 24th day of April, 2024.

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                                                                  A
                                                                  David W. Christel
 8                                                                United States Magistrate Judge

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                 The motion should be noted in accordance with Local Civil Rule (“LCR”) 7. The response brief and reply
     brief shall also be filed in accordance with LCR 7.
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     ORDER DIRECTING LIMITED LIFT OF STAY - 2
